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                               EXHIBIT A
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              List of Discovery Materials Designated as Confidential by a Non-Party

                                   THE MATERIAL
   Relevant   Parties’ ID Brief Description Plaintiffs’ Position   Defendants’
   Third-     Number                           on                  Position on
   Party                                       Sealing/Unsealing   Sealing/Unsealing
   David      29          Excerpts of the      Consent to          Do Not Consent to
   Kramer                 deposition of        Unsealing           Unsealing
                          David Kramer
                          (pages 1, 4, 46, 59-
                          61, 105, 132, 133)
   David      40          Excerpts of the      Consent to          Do Not Consent to
   Kramer                 deposition of        Unsealing           Unsealing
                          David Kramer
                          (pages 15 and 130)
   David      43          Excerpts of the      Consent to          Do Not Consent to
   Kramer                 deposition of        Unsealing           Unsealing
                          David Kramer
                          (pages 1, 4, 15,
                          130, 132, 133)
   David      54          Kramer               Consent to          Do Not Consent to
   Kramer                 Declaration          Unsealing           Unsealing
   David      60          Excerpts of the      Consent to          Do Not Consent to
   Kramer                 deposition of        Unsealing           Unsealing
                          David Kramer
                          (pages 11-35, 38,
                          42-55, 61-63, 66,
                          67, 73-77, 84-95,
                          98-106, 111-122)
   David      78          Excerpts of the      Consent to          Do Not Consent to
   Kramer                 deposition of        Unsealing           Unsealing
                          David Kramer
                          (pages 1, 4, 63-64,
                          132-134)
   David      91          Excerpts of the      Consent to          Do Not Consent to
   Kramer                 deposition of        Unsealing           Unsealing
                          David Kramer
                          (pages 1, 110-111,
                          133)
   David      260         Excerpts of the      Consent to          Do Not Consent to
   Kramer                 deposition of        Unsealing           Unsealing
                          David Kramer
                          (pages 27-64, 106)

   David      D.E. 124,    Transcript of           Consent to      Do Not Consent to
   Kramer     Ex. 2        Kramer deposition       Unsealing       Unsealing

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                            (Exhibit 2 to
                            Plaintiffs’ Motion
                            for Partial
                            Judgment on the
                            Pleadings)
   David         D.E. 130,  Transcript of      Consent to             Do Not Consent to
   Kramer        Attachment Kramer deposition Unsealing               Unsealing
                 C          (Attachment C to
                            Kramer Motion for
                            Protective Order)
   FBI           55         FBI Declaration    Consent to             Consent to
                                               Unsealing              Unsealing
   Bitly, Inc.   215        Bitly Presentation Consent to             Consent to
                            (BITLY 00004-      Unsealing              Unsealing
                            00026)
   Bitly, Inc.   216        Bitly Declaration  Consent to             Consent to
                                               Unsealing              Unsealing
   Fusion        28         Portions of        Consent to             Consent to
   GPS                      transcript of      Unsealing              Unsealing
                            deposition of
                            Fusion GPS
   Fusion        39         Portions of        Consent to             Consent to
   GPS                      transcript of      unsealing except for   Unsealing
                            deposition of      lines 189:16-190:4
                            Fusion GPS         and 190:9-191:6
   Fusion        64         Portions of        Consent to             Consent to
   GPS                      transcript of      Unsealing              Unsealing
                            deposition of
                            Fusion GPS
   Fusion        88         Portions of        Consent to             Consent to
   GPS                      transcript of      Unsealing              Unsealing
                            deposition of
                            Fusion GPS
   Fusion        254        Portions of        Consent to             Consent to
   GPS                      transcript of      unsealing except for   Unsealing
                            deposition of      lines 189:16-190:4,
                            Fusion GPS         190:9-191:6 and
                                               196:5-8
   Fusion        264        Portions of        Consent to             Consent to
   GPS                      transcript of      unsealing except for   Unsealing
                            deposition of      lines 189:16-190:4,
                            Fusion GPS         190:9-191:6 and
                                               196:5-8
   Fusion        267        Portions of        Consent to             Consent to
   GPS                      transcript of      unsealing except for   Unsealing
                                               lines 189:16-190:4,

                                              3
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                         deposition of         190:9-191:6 and
                         Fusion GPS            196:5-8
   Fusion     322        Portions of           Consent to          Consent to
   GPS                   transcript of         Unsealing           Unsealing
                         deposition of
                         Fusion GPS
   KGlobal,   15         Email w/              Do Not Consent to   Consent to
   LLC                   Agreement             Unsealing           Unsealing
                         between
                         Servers.com and
                         KGlobal
   KGlobal,   16         Email from            Consent to          Consent to
   LLC                   KGlobal to            Unsealing           Unsealing
                         Fortune
   KGlobal,   17         Email from            Consent to          Consent to
   LLC                   KGlobal to            Unsealing           Unsealing
                         Thrillist
   KGlobal,   18         Collection of         Consent to          Consent to
   LLC                   various emails        Unsealing           Unsealing
                         between KGlobal
                         and media
   KGlobal,   19         Email from            Consent to          Consent to
   LLC                   Appmasters to         Unsealing           Unsealing
                         KGlobal
   KGlobal,   20         Emails between        Do Not Consent to   Consent to
   LLC                   KGlobal and XBT       Unsealing           Unsealing
   KGlobal,   21         Emails between        Do Not Consent to   Consent to
   LLC                   KGlobal and XBT       Unsealing           Unsealing
   KGlobal,   22         Emails between        Do Not Consent to   Consent to
   LLC                   KGlobal and XBT       Unsealing           Unsealing
   KGlobal,   47         Email from Dvas       Do Not Consent to   Consent to
   LLC                   to KGlobal re         Unsealing           Unsealing
                         Methbot
   KGlobal,   124        Email w/              Do Not Consent to   Consent to
   LLC                   Agreement             Unsealing           Unsealing
                         between
                         Servers.com and
                         KGlobal
   KGlobal,   128        Email b/w             Do Not Consent to   Consent to
   LLC                   Plaintiffs and        Unsealing           Unsealing
                         KGlobal
   KGlobal,   130        Email b/w             Do Not Consent to   Consent to
   LLC                   Plaintiffs and        Unsealing           Unsealing
                         KGlobal



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   KGlobal,   136        Email b/w                Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   137        Emails b/w               Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   139        Emails b/w               Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   162        Emails b/w Dvas          Do Not Consent to   Consent to
   LLC                   and KGlobal              Unsealing           Unsealing
   KGlobal,   163        Emails b/w               Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   210        Emails b/w               Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   230        Emails between           Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   234        Emails between           Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   235        Emails between           Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   236        Emails between           Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,   237        Emails between           Do Not Consent to   Consent to
   LLC                   Plaintiffs and           Unsealing           Unsealing
                         KGlobal
   KGlobal,    330       Email from               Do Not Consent to   Consent to
   LLC                   KGLobal to Dvas          Unsealing           Unsealing
   Christopher 63        Excerpts of the          Consent to          Consent to
   Steele                deposition of            Unsealing           Unsealing
                         Christopher
                         Steele (pages 1,
                         18-19, 23-24,
                         31-33, 40, 54, 66-
                         67, 83, 91-
                         93, 98-102, 133-
                         136, 138-
                         139)
   Christopher 76        Excerpts of the          Consent to          Consent to
   Steele                                         Unsealing           Unsealing

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                         deposition of
                         Christopher
                         Steele (pages 1-4,
                         37-44, 141-
                         145)
   Christopher 151a      Excerpts of the          Consent to   Consent to
   Steele                deposition of            Unsealing    Unsealing
                         Christopher
                         Steele (pages 1,
                         47)

   Christopher 165       Excerpts of the          Consent to   Consent to
   Steele                deposition of            Unsealing    Unsealing
                         Christopher
                         Steele (pages 1-4,
                         45-52, 141-
                         145)
   Christopher 253       Excerpts of the          Consent to   Consent to
   Steele                deposition of            Unsealing    Unsealing
                         Christopher
                         Steele (pages 1,
                         47, 144)
   Christopher 265       Excerpts of the          Consent to   Consent to
   Steele                deposition of            Unsealing    Unsealing
                         Christopher
                         Steele (pages 1,
                         45-47, 54, 66-
                         67, 91-92, 98, 144)
   Christopher 268       Excerpts of the          Consent to   Consent to
   Steele                deposition of            Unsealing    Unsealing
                         Christopher
                         Steele (page 1-4,
                         45-52)
   CNN        85         CNN Subpoena             Consent to   Consent to
                         Response                 Unsealing    Unsealing




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